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                                                          Exhibit A to the Complaint
Location: Glenside, PA                                                                              IP Address: 71.185.46.94
Total Works Infringed: 24                                                                           ISP: Verizon Fios
 Work      Hashes                                                                UTC        Site           Published     Registered   Registration
 1         Info Hash:                                                            05-23-     Blacked        05-22-2021    06-09-2021   PA0002295591
           CF43445550F5C577FDA1000BF1517D82890112CF                              2021
           File Hash:                                                            16:08:07
           694D3DB76335ADFC323553250FAB7BE0D13E067F1FDFEC66DAEE915555BFD16F
 2         Info Hash:                                                            05-04-     Blacked        04-12-2021    04-27-2021   PA0002288983
           177CFD4D652475B5EF00F393977809C79A69B70B                              2021       Raw
           File Hash:                                                            00:12:04
           E8EA6BADC1F18AC0C1695C21C0CD699BF59E094193E999894E1FB91A0921BC24
 3         Info Hash:                                                            05-03-     Blacked        05-01-2021    06-09-2021   PA0002295604
           E61975B64F05C8F0D14C66E93DE0FFB04D7A2F6D                              2021
           File Hash:                                                            23:54:01
           7E0CBEEF7C42F83201CCBF1ECCBFB92FF4844F75698FCC9BE8D99227EF3A1483
 4         Info Hash:                                                            04-22-     Blacked        08-05-2018    09-01-2018   PA0002119682
           B0C11A6C1831036722B155D62E5E3F571B9B2DFC                              2021       Raw
           File Hash:                                                            18:06:36
           F461ABB5DA55CB69F48F3E48370CDC6FEDB0EB866739509F362FFF0790FD7FAD
 5         Info Hash:                                                            04-19-     Vixen          03-09-2020    04-17-2020   PA0002246165
           8B774AA8D7C759528331E69082CCF8257034DB14                              2021
           File Hash:                                                            22:36:10
           83B5017061D514F35D012E178E6A31EA4201E23086DC9D47ED2E8B533CDEF40B
 6         Info Hash:                                                            04-08-     Tushy          04-04-2021    04-14-2021   PA0002286714
           29CB9F83B57282A28623BB4D544859E9D09009C8                              2021
           File Hash:                                                            17:04:23
           F256328AA4E3A1CA1FB203639F2BC64B85582EA82610385F77DB9DDF48CC4338
 7         Info Hash:                                                            03-14-     Blacked        03-13-2021    03-22-2021   PA0002282509
           8A60CD05E85FB1E291B7B96D9B6EE3DA7C58B579                              2021
           File Hash:                                                            14:23:08
           4EB7F4C0A743F2D20486F50F9CA9F43E858521E03D352F38E69E8E328F7E8789
 8         Info Hash:                                                            02-11-     Blacked        02-08-2021    03-08-2021   PA0002280363
           0E4B5E5DC0AFC0C362E25D2E355B9DDA004393F7                              2021       Raw
           File Hash:                                                            19:08:57
           F23808AFCCD55FA0ABC4ECF9BC84771B24DEAB3FA6B56D49789169D97CECAB60
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
9      Info Hash:                                                         01-24-     Vixen     11-27-2020   11-30-2020   PA0002266359
       C712DD41FC304B9E6DA7F281D40A84F3998639A1                           2021
       File Hash:                                                         20:06:50
       44DA1CAA08B3A845984A5D3DF965483C901BB699AD711BE89BA1A4B68FBBCE88
10     Info Hash:                                                         01-18-     Vixen     02-08-2020   03-18-2020   PA0002241445
       B18E1D41690223ABB3AF223C4CD9DB0D92732F68                           2021
       File Hash:                                                         18:06:08
       2DAB04B35C3709ABBA91ABC641F7C2FC9A48AA80A1A6F921058A75E983240C10
11     Info Hash:                                                         01-18-     Blacked   01-16-2021   02-09-2021   PA0002276150
       6FBEE85FC7FB7F1DD7624C72B2210E2FCCAD0F53                           2021
       File Hash:                                                         17:36:35
       2F96397A7136C2422502EFAA9E161C8414D7754AC8D97248CD32D39535EC78CF
12     Info Hash:                                                         01-10-     Blacked   01-09-2021   02-09-2021   PA0002276152
       D3EAFC49C5FF4730292FEAFF3786D6F5780E94E6                           2021
       File Hash:                                                         21:15:00
       6CF0CADC52ED557C4A99879326343FD0613C8C6FC9B3E0D4D2964C7AA8D22E91
13     Info Hash:                                                         12-29-     Blacked   12-28-2020   01-05-2021   PA0002269956
       BA9C909C755A92B83B8E970DBB075DDBC998C06B                           2020       Raw
       File Hash:                                                         21:31:06
       9B486D80D2527860BF2E98F369423ACE4FB96F919609EBC0351DFCC0F1ACBDF0
14     Info Hash:                                                         12-23-     Vixen     12-18-2020   01-04-2021   PA0002277038
       568692569D20CFEB6529917EFF19D8D647BF99B9                           2020
       File Hash:                                                         19:38:53
       BB50A78FC582B352896BECCBC45DF366F2594C42B51DB99FB3359AFD9A133019
15     Info Hash:                                                         12-23-     Tushy     12-20-2020   01-05-2021   PA0002269960
       25479F1839EAA543B4BFD2A498B6DF8AA397AAF8                           2020
       File Hash:                                                         19:26:32
       B081FEA3A856694B4A012942C9EA8A43E92A14330F1FEF2BB77382B8287A1E35
16     Info Hash:                                                         11-27-     Tushy     11-22-2020   11-30-2020   PA0002266355
       0E4E9330734769FD5FDD3866CAA288DB808AB88A                           2020
       File Hash:                                                         19:13:26
       B68B2BDF1B682E2695E07E8B2AD90E415F34DF7B59C1B79E2BE799CB545C82F4
17     Info Hash:                                                         11-27-     Tushy     11-15-2020   12-09-2020   PA0002274948
       1917C512DE6E36C7C32CBFEB0B757FE5952ACB61                           2020
       File Hash:                                                         18:59:29
       996C4A9793F80E4DA1C157A8755DA5C9877E68B8F1F8C2BD8EC8B8133C634231
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
18     Info Hash:                                                         11-09-     Vixen     10-30-2020   11-18-2020   PA0002272620
       387D1641EF51137EFE29CAAAA6B5F03ADD8AA8B8                           2020
       File Hash:                                                         21:02:20
       9BD9F671B65B74701346F28D79B54DADAD08844565DBEE4884B84E326C315B02
19     Info Hash:                                                         09-20-     Vixen     09-18-2020   09-29-2020   PA0002258680
       1F2C5F4B6B5C68130A465DC3DFDDB762C9FD8F8E                           2020
       File Hash:                                                         14:23:34
       9BA7602C4DC7C8C5E2B2E278331BAD07FB7B0F1F7FB7BC3A2CB4DDB75E035D85
20     Info Hash:                                                         09-06-     Blacked   08-31-2020   09-05-2020   PA0002255473
       4B284A0C691291B7047185928CAAD62C0D415773                           2020       Raw
       File Hash:                                                         23:35:06
       55BB78E76408827995311BEA5542CDD4F8EC08CF2B61ECF44084537217280AA0
21     Info Hash:                                                         09-06-     Blacked   09-05-2020   09-29-2020   PA0002258686
       979CD4F798E6D0277F211C43B2DEAD821781AAB7                           2020
       File Hash:                                                         22:15:53
       E4EF4298821183831E08081314D570BF54150A02DA0ADFFD61F03A99A9653C34
22     Info Hash:                                                         08-28-     Tushy     08-16-2020   08-18-2020   PA0002253098
       D5A7BA6BBA046AB1FA10FD54403E1B0EBA9E0B27                           2020
       File Hash:                                                         18:00:33
       1C8768781A154D8E268DB0527F5AA8261B25442B32615EAE22EE318720EB4111
23     Info Hash:                                                         08-09-     Vixen     08-07-2020   08-18-2020   PA0002253099
       1F6358AF09F833F713119926BA142A262A51FB39                           2020
       File Hash:                                                         17:41:42
       296CBAC791B2B8C851CD79BDE55041144674B2ADEF671BA45434B663E7AE5ADF
24     Info Hash:                                                         07-04-     Tushy     06-30-2017   07-07-2017   PA0002070818
       7B0F3B042CF55D687389B8D5DA59C57519A11EAF                           2020
       File Hash:                                                         18:41:38
       DE0A1FFD7940186E64E408C53D35AE0A1E36CDCD04BD73AFC359171AF0F28EB0
